Case 1:20-cv-00216-MSM-PAS Document 201 Filed 06/17/20 Page 1 of 3 PageID #: 11011




                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF RHODE ISLAND

    OSCAR YANES, GAGIK MKRTCHIAN,
    and WENDELL BAEZ LOPEZ, on behalf
    of themselves and all those similarly situated,

                        Petitioners-Plaintiffs,           Civil Action No.
                 -v.-                                     20-CV-216-MSM-PAS

    DANIEL W. MARTIN, Warden, Donald
    W. Wyatt Detention Facility; CHAD F.
    WOLF, Acting Secretary, U.S. Department
    of Homeland Security; MATTHEW T.
    ALBENCE, Acting Director, U.S.
    Immigration and Customs Enforcement;
    TODD M. LYONS, Acting Field Office
    Director, U.S. Immigration and Customs
    Enforcement; and CENTRAL FALLS
    DETENTION FACILITY
    CORPORATION,

                        Respondents-Defendants.


              ORDER SETTING CONDITIONS OF BAIL FOR CLASS MEMBER
                                GARYL ALEXIS

          Pursuant to, and in accordance with, this Court’s findings on the record at a bail hearing

   held in this matter on June 17, 2020 with respect to a request for temporary release from custody

   at the Wyatt Detention Facility owing to COVID-19, made on behalf of ICE Detainee GARYL

   ALEXIS, the Court ORDERS that Mr. Alexis is to be released by 5:00 PM on the date of this

   Order, pursuant to the following release plan:

          A. Designated Residence/Address for 14 Day Quarantine Period:
              __140 Emerald Pl., Stratford, CT 06614_______________
          B. Custodian during 14 Day quarantine period:
                a. Name:       ___Margarette Lemeau_______________________
                b. Phone number:_203-273-7163_________
Case 1:20-cv-00216-MSM-PAS Document 201 Filed 06/17/20 Page 2 of 3 PageID #: 11012




                  c. Email:__mlemeau7@gmail.com__________

          C. Designated Residence/Address after 14 Day Quarantine Period:
             ___same as above____________________

          D. Custodian after 14 Day quarantine period:__same as above__________
                a. Name:       ______________________________________________
                b. Phone number:________________________
                c. Email:_______________________________
   Your release is subject to following conditions:
         1) You shall not commit any offense in violation of federal, state, or local law while on
            release in this case;

         2) If the Court orders you to surrender, you will do so at the date, time, and location set by
            the Court;

         3) Upon release from custody, you are to follow Centers for Disease Control (“CDC”)
            recommended precautions for the quarantine of individuals who may have been exposed
            to COVID-19, including to stay at home for 14 days after leaving the facility;

         4) During and after the 14-day quarantine, you shall adhere to all applicable CDC
            recommended social-distancing guidelines and other orders and recommendations
            issued by federal, state, or local governments designed to limit the spread of COVID-
            19;

         5) During the period of your release, you are subject to, and shall abide by, all
            DHS/ICE/ERO Orders of Recognizance/Supervision unless such orders conflict with
            the orders of this Court. Your DHS/ICE/ERO Order of Recognizance/Supervision may
            include, but is not limited to, electronic monitoring;

         6) You shall ask for the Court’s permission to change the designated place or residence
            unless your situation requires the immediate change of the designated place (e.g., for
            safety reasons). In the latter case, you shall immediately advise the Court, counsel for
            petitioners/plaintiffs, and the U.S. Attorney in writing;

         7) You shall be subject to home, video, or telephone visits by ICE (or a contractor hired by
            ICE) to confirm your compliance with the terms and conditions of this bail order. You
            shall appear for office visits at ICE (or the ICE contractor's office) as required by ICE;

         8) You shall provide to Immigration and Customs Enforcement, a valid passport or travel
            document and provide any assistance deemed necessary by DHS/ICE ERO in
            facilitating your removal from the United States, if requested to do so;

         9) You shall comply with any departure plan developed by DHS/ICE/ERO;
Case 1:20-cv-00216-MSM-PAS Document 201 Filed 06/17/20 Page 3 of 3 PageID #: 11013




        10) Special Conditions (if any):

                        a. You are not to possess a firearm at any time during the period of your
                           release;

                        b. You are not to consume marijuana during the period of your release;

                        c. You are not to have contact with any victim in any criminal case in
                           which you have been charged during the period of your release,
                           whether or not that case remains active;

                        d. You are subject to home confinement throughout the period of your
                           release with the exception of the following, on prior notice to ICE:

                                i. Attendance at medical appointments;

                               ii. Attendance at court proceedings;

                              iii. Attendance at hearings scheduled in any ongoing immigration
                                   hearings in your case.

                               iv. Any other release specifically approved in advance by ICE.


                                       SO ORDERED THIS 17th DAY OF JUNE, 2020


                                       ___________________________________
                                       HON. MARY S. McELROY
                                       UNITED STATES DISTRICT JUDGE
